        Case 1:22-cv-03027-LMM Document 29 Filed 08/17/22 Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

In re Subpoena to Non-Party Lindsey
O. Graham in his official capacity as
United States Senator,                      Case No. 1:22-cv-03027-LMM

in the matter of:

Special Purpose Grand Jury, Fulton
County Superior Court Case No.
2022-EX-000024.



 SENATOR LINDSEY O. GRAHAM’S EMERGENCY MOTION TO STAY
    ORDER AND ENJOIN SELECT GRAND JURY PROCEEDINGS
                     PENDING APPEAL

      In accordance with Federal Rule of Appellate Procedure 8(a) and Local Rule

7.2(B), United States Senator Lindsey Graham respectfully moves for a stay of this

Court’s remand order (Doc. 27) and for an order enjoining the Special Purpose

Grand Jury from acting on its Subpoena pending the outcome of Senator Graham’s

forthcoming appeal. As set forth in the accompanying Memorandum of Law in

Support of this motion, Senator Graham asserts constitutional immunity from

questioning and will therefore be irreparably harmed if forced to appear before the

Special Purpose Grand Jury as a witness on August 23, as currently scheduled, or

any time before disposition of his appeal from this Court’s order denying his
        Case 1:22-cv-03027-LMM Document 29 Filed 08/17/22 Page 2 of 4




Expedited Motion to Quash and ordering remand. Accordingly, Senator Graham

respectfully requests that the Court grant this motion and provide any further relief

the Court deems just and proper.

 Date: August 17, 2022                 Respectfully submitted,

                                       /s/ Brian C. Lea
 DONALD F. MCGAHN II                   BRIAN C. LEA
  Admitted pro hac vice                Georgia Bar No. 213529
 ROBERT LUTHER III                     JONES DAY
  Admitted pro hac vice                1221 Peachtree Street, N.E.,
 JONES DAY                             Suite 400
 51 Louisiana Ave., NW                 Atlanta, Georgia 30361
 Washington, DC 20001                  (404) 521-3939
 (202) 879-3939                        blea@jonesday.com
 dmcgahn@jonesday.com
 rluther@jonesday.com                  E. BART DANIEL
                                        Admitted pro hac vice
                                       MARSHALL T. AUSTIN
                                        Application for admission
                                        pro hac vice pending
                                       NELSON MULLINS RILEY &
                                        SCARBOROUGH LLP
                                       151 Meeting Street,
                                       Suite 600
                                       Charleston, SC 29401
                                       (843) 853-5200
                                       bart.daniel@nelsonmullins.com
                                       matt.austin@nelsonmullins.com


                Counsel for United States Senator Lindsey Graham




                                         2
       Case 1:22-cv-03027-LMM Document 29 Filed 08/17/22 Page 3 of 4




            CERTIFICATE OF COMPLIANCE WITH LR 5.1(B)

      I hereby certify that this brief has been prepared with one of the font, point,

and style selections approved by the Court in LR 5.1(B)—namely, double-spaced in

14-point Times New Roman font.

Date: August 17, 2022                  /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




                                         3
          Case 1:22-cv-03027-LMM Document 29 Filed 08/17/22 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on August 17, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to all attorneys of record by operation of the Court’s electronic filing

system.


Date: August 17, 2022                  /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




                                         4
